ease 1:15-cv-01202-RJJ-RSK ECF No. 1 filed 11/18/15 PagelD.l PMI,}§,§E 2'°:(52_,,:52 m

UN|TED STATES D|STR|CT COURT FOR THE WESTERN D|STR|CT "*

Melindia Jackson

Genera| Delivery

Dimonda|e, lV|| 48821

Phone Number 734 787-7224

State Farm |nsurance Company Lega| Department

Defendant

CLERK OF CLERK
U.S. D|STR|CT COURT

WESTERN D|STR|CT OF lC | AN
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1:15-cv-1202
Robert J. Jonker, Chief Judge
U.S. Distn'ct Court

 

Notice bf Discrimination for Disabi|ity under the ADA Act in Federa| Cou{rt.

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Case 1:15-cv-01202-R.].]-RSK ECF No. 1 filed 11/18/15 Page|D.Z Page 2 of 2

Comp|aint

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l the plaintiff have filed against the insurance company for discriminating against me for having a prior
accident which | had become disable from before the one that their insured had injured me in 2008.
The claim was filed in state court and closed which was handle very badly by the attorneys and the claim
adjusters who did mock my prior disability. State Farm had prior knowledge of my disability before this

l

last one in 2008. Causing me bodily harm and l had two shoulder surgeries. l have a scar for life

because of this injury.
Reso|ution

|'m asking for $100,000.00 which the insured had on their policy. The state court was prejudice against

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l
me for a number of reason, but this company was bias before of my disability prior. l
l

Sign WW Date ]4"' / y’ / 5

